Case 1:25-cr-20013-RKA Document 10 Entered on FLSD Docket 01/21/2025 Page 1 of 2




                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                      25-20013-cr-ALTMAN/LETT

  UNITED STATES OF AMERICA
                         Plaintiff,
  v.
  ARTEM OLEGOVICH ALAFYEV
                    Defendant
  ______________________________/.

                        MOTION TO APPEAR PRO HAC VICE,
                    CONSENT TO DESIGNATION, AND REQUEST TO
              ELECTRONICALLY RECEIVE NOTICES OF ELECTRONIC FILING
         In accordance with Local Rule 4(b) of the Rules Governing the Admission, Practice, Peer
  Review, and Discipline of Attorneys of the United States District Court for the Southern District
  of Florida, the undersigned respectfully moves for the admission pro hac vice of Robert Bond of
  the Law Offices of Robert Bond, 11880 Bustleton Avenue, Suite 206, Philadelphia, PA 19116,
  (215) 240-7565, for purposes of appearance as co-counsel on behalf of Artem Olegovich Alafyev
  in the above-styled case only, and pursuant to Rule 2B of the CM/ECF Administrative Procedures,
  to permit Robert Bond to receive electronic filings in this case, and in support thereof states as
  follows:
         1.      Robert Bond is not admitted to practice in the Southern District of Florida and is a
  member in good standing of the Bar of the Commonwealth of Pennsylvania and the United States
  District Court for the Eastern District of Pennsylvania.
        2.      Movant, Robert David Malove, of The Law Offices of Robert David Malove, P.A.,
 200 SE 9th Street, Fort Lauderdale, FL 33316, is a member in good standing of The Florida Bar and
 the United States District Court for the Southern District of Florida and is authorized to file through
 the Court’s electronic filing system. Movant consents to be designated as a member of the Bar of
 this Court with whom the Court and opposing counsel may readily communicate regarding the
 conduct of the case, upon whom filings shall be served, who shall be required to electronically file
 and serve all documents and things that may be filed and served electronically, and who shall be
Case 1:25-cr-20013-RKA Document 10 Entered on FLSD Docket 01/21/2025 Page 2 of 2




 responsible for filing and serving documents in compliance with the CM/ECF Administrative
 Procedures. See Section 2B of the CM/ECF Administrative Procedures.
       3.      In accordance with the local rules of this Court, Robert Bond, has made payment of
this Court’s $224.00 admission fee. A certification in accordance with Rule 4(b) is attached hereto.
       4.      Robert Bond, by and through designated counsel and pursuant to Section 2B of the
CM/ECF Administrative Procedures, hereby requests the Court to provide Notice of Electronic
Filings to Robert Bond at email address: rbond@phillylawcenter.com
       WHEREFORE, Robert David Malove respectfully moves this Court to enter an Order Robert
Bond to appear before this Court on behalf of Artem Olegovich Alafyev, for all purposes relating to
the proceedings in the above-styled matter and directing the Clerk to provide notice of electronic
filings to Robert Bond.
                                                            Respectfully submitted,
                                                             The Law Office of
                                                             ROBERT DAVID MALOVE, P.A.
                                                             200 SE 9th Street
                                                             Ft. Lauderdale, Florida 33316
                                                             (954) 861-0384

                                                             By:    /s/ Robert David Malove
                                                                    Robert David Malove
                                                                    Florida Bar No.: 407283

                                  CERTIFICATE OF SERVICE
        I HEREBY CERTIFY that on this 21st day of January 2025, I electronically filed the
 foregoing with the Clerk of the Court by using the CM/ECF.
                                                             By:    /s/ Robert David Malove
                                                                    Robert David Malove
                                                                    Florida Bar No.: 407283
